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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS



 FRANCINE McCUMBER, ET AL.                           Case No. 3:21-cv-02194-B

                            Plaintiffs,              Judge Jane J. Boyle

        v.


 INVITATION HOMES, INC., a Maryland
 corporation

                           Defendant.


     PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
       CLASS ACTION SETTLEMENT AND BRIEF IN SUPPORT THEREOF

TO THE COURT, ALL PARTIES, THEIR COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that Plaintiffs Francine McCumber, Erin Dolce (f/k/a Erin Bird

and Erin Bryd), Melissa Lynch, La Shay Harvey, Maryah Marciniak, Brian Majka, Chad

Whetman, Tracy White, Rachel Osborn, Teresa Kerr (f/k/a Tereasa Maria Moore), and Jose

Rivera (collectively “Plaintiffs”) will and hereby do move this Court for an Order preliminarily

approving the settlement agreement reached with Defendant Invitation Homes, Inc.

       This motion is based on the attached Memorandum of Points and Authorities, the

supporting Declaration of Alex Tomasevic and its attached exhibits, and all other pleadings and

papers on file in this action, and upon such other matters or arguments as may be presented to the

Court at the time of the hearing.

Respectfully submitted,
Dated: May 3, 2023                                   NICHOLAS & TOMASEVIC LLP

                                                     /s/ Alex Tomasevic
                                                     cnicholas@nicholaslaw.org
                                                     Alex Tomasevic (pro hac vice)
                                                     atomasevic@nicholaslaw.org
                                                     225 Broadway, 19th Floor


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                                         San Diego, CA 92101
                                         Telephone: +1 619 325 0492
                                         Fax: +1 619 325 0496


                                         Richard A. Smith
                                         Texas Bar No. 24027990
                                         richard@rsmithpc.com
                                         PALMER LEHMAN SANDBERG PLC
                                         Campbell Centre I
                                         8350 N. Central Expressway, Suite 1111
                                         Dallas, TX 75206
                                         Telephone: + 1 214 2426484

                                         ATTORNEYS   FOR    PLAINTIFFS
                                         FRANCINE MCCUMBER, ET AL.




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I.       INTRODUCTION

         This Motion seeks preliminary approval of the parties’ proposed $7,500,000 “late fees”

class action settlement. This case challenges Defendant Invitation Homes, Inc., and its

predecessors’ (collectively “Defendant” or “INVH,” unless otherwise clarified) charges to tenants

in 11 states for late payment of rent. In short, Plaintiffs – who come from each of the 11

represented states, including Texas – alleged that INVH’s standard late fees in its form lease

agreements amount to improper penalties under the consumer protection laws and/or common law

of each of their states. Defendant has vigorously opposed this matter, which was litigated heavily

in three different actions in three different states for a total of about five years.

         The settlement, if approved, would provide significant monetary relief for tenants, and

would finally put an end to lengthy and hotly contested litigation.

         The basic terms of the settlement provide for:

         •      A total, non-reversionary class settlement amount of $7,500,000 to be funded by

                Defendant (the “Total Settlement Amount”), with up to 25% of that amount (or up

                to $1,875,000) consisting of debt forgiveness to certain class members who have

                high active balances owing to INVH.

         •      The Gross Settlement Amount covers all alleged damages, attorneys’ fees (up to

                33.0% of the Gross Settlement Amount), litigation costs (up to $30,000), costs of

                settlement administration (currently budgeted at $175,000 or less), and typical

                representative enhancement awards to the named Plaintiffs for their efforts in filing

                the case against their landlord, sticking with the case for all this time, working

                closely with counsel, and helping to achieve these results ($5,000 each, or $55,000

                total).




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       •       An experienced and neutral Settlement Administrator, Angeion Group, will send

               out direct written notice to all class members via email or mail that will explain the

               settlement terms, will estimate what they will receive under the settlement, and give

               everyone the option to participate in the settlement, object to it, or opt out of it with

               no obligation.    The Settlement Administrator will also establish a settlement

               website and toll-free telephone support.

       An objective evaluation of the settlement confirms that the relief negotiated at arms-length

is fair, reasonable, and valuable. The Parties negotiated the settlement only after one failed

mediation, then another separate full day of mediation with the Honorable Jeff Kaplan (Ret.). And

the settlement provides Class Members with valuable relief for their claims in terms of real money

or debt relief, not coupons or illusory equitable relief. The relief also does not require the

submission of a claim. Further, by settling now, Class Members will not have to wait (possibly

years) for relief, nor will they have to bear the risk of class certification being denied or of

Defendants prevailing at trial, or of recovering a smaller amount than obtained through this

settlement, possible appeals, etcetera.

       Overall, the settlement is an excellent result considering all the relevant circumstances.

Accordingly, Plaintiffs seek approval of the proposed settlement as preliminarily fair, reasonable,

and adequate and asks the Court to conditionally certify the Class and set dates for providing notice

of settlement to the Class, requests for exclusion or objection, and the final approval and fee

hearings.




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II.     BACKGROUND1

        A.     The Allegations

        Defendant2 operates in multiple states and rents out single-family residences. When

tenants pay rent late (i.e., if not within a few days after the first of the month), Defendant assesses

standard late charges under the lease – predominantly either a $95 flat fee, or 10% of monthly

rent depending on the lease version. Plaintiffs allege that these late fees are excessive and amount

to illegal penalties under the statutory and/or common laws of their state.

        More specifically, Plaintiffs allege that INVH’s standard fees are all illegal for the same

reason. In all the relevant states, while landlords may institute appropriate “liquidated damages”

provisions under certain circumstances, including to compensate the late payment of rent, they

generally may only do so if: (a) it would be extremely difficult or infeasible to calculate actual

damages from the late payment; and (b) the liquidated damages are a reasonable amount in light

of the anticipated or actual harm. See, e.g., Restatement (Second) of Contracts § 356(1) (Am. Law

Inst. 1981) (the “Restatement”); Cal. Civ. Code § 1671(d); U.C.C. § 2-718(1). Most states,

including all the states represented in this case, have adopted the Restatement into their common

law or otherwise codified a statute similarly differentiating lawful liquidated damages provisions

from unlawful late fee penalties.




1
  Unless otherwise indicated, the factual support for these unopposed averments can be found in
the accompanying Declaration of Class Counsel Alex Tomasevic.
2
  INVH was once privately held by New York’s Blackstone Group. Blackstone took Invitation
Homes public in February 2017. By that time, another large home rental firm—Waypoint
Homes—had already merged with another—Colony Starwood—in 2016, to create “Starwood
Waypoint Homes.” Invitation Homes then merged with the new Starwood Waypoint Homes entity
in November 2018 to create the current defendant: Invitation Homes, Inc. (NYSE: INVH).



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       Plaintiffs generally alleged that INVH’s fees bare no reasonable relation to the alleged

“damage” suffered by INVH, if any, arising from waiting a bit of extra for the rent payment. Most

of the time, Plaintiffs posited, there is little or no damage to INVH from any late payments because

the amounts due are usually paid within a couple of days of the due date. Moreover, INVH has

allegedly never attempted to conduct any analysis or “reasonable endeavor” to set the fee, often

just picking arbitrary amounts to charge. At issue here are Defendant’s late rent charges to tenants

in Arizona, California, Colorado, Florida, Georgia, Illinois, Nevada, North Carolina, Tennessee,

Texas, and Washington.

       B.      Procedural History

       This case was originally filed in the Northern District of California by plaintiff Jose Rivera,

only, on May 25, 2018. Mr. Rivera resided in one of INVH’s California rental homes. In August

of 2018, the remaining Plaintiffs joined Mr. Rivera in his California action and, in general, asserted

claims under each of their respective states’ laws.    Eventually, however, the Northern District of

California dismissed the claims of the non-resident tenants for lack of specific jurisdiction over

their out of state claims. Those out-of-state plaintiffs (i.e., all of them except for Mr. Rivera) then

re-filed, together, in federal district court in Maryland – Defendant’s state of incorporation. That

Maryland action, though, was transferred, in September of 2021, here to Dallas and this Court.

Dallas is where INVH’s headquarters sit. See Dkt. No. 31.

       Mr. Rivera continued to conduct discovery and litigate his case in California, eventually

filing his Motion for Class Certification. Defendant opposed and Plaintiff replied. The Northern

District of California ruled on the fully briefed motion, however, by dismissing Mr. Rivera’s

claims on jurisdictional grounds and never ruling on the Rule 23 factors. Mr. Rivera eventually

re-joined his original co-plaintiffs in this Court. See Dkt. No. 93 (Amended Complaint adds Mr.




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Rivera). Class Counsel Nicholas & Tomasevic has represented all plaintiffs in all cases at all

times.

         Defendant denies all material allegations and has always vigorously defended all actions

against it brought by these plaintiffs. For example, Mr. Rivera’s California action included

multiple motions to dismiss. Here, after Plaintiffs amended their complaint again in January of

2022, Defendant filed a Motion to Dismiss specifically targeting each claim from each state. Dkt.

No. 58. The Court granted Defendant’s motion in part and denied it in part. Dkt. No. 65. Plaintiff

thereafter filed a Second Amended Complaint, Dkt. No. 66. Defendant then timely moved to

dismiss that Amended Complaint. Dkt. No. 69. Defendant’s new motion to dismiss was fully

briefed when the parties went to their most recent mediation and reached a settlement.

         C.     Counsel’s Investigation and Discovery

         Prior to filing the suit, and continuing through the course of the litigation, Class Counsel

conducted an extensive investigation into the factual and legal issues raised in this case. These

investigative efforts included reviewing voluminous federal filings by Defendant, including SEC

filings, as well as filings in states Defendant operated in or owned rental properties. Class Counsel,

of course, also spent hours upon hours talking with the 11 named plaintiffs themselves and

reviewing and analyzing their circumstances and documents. Counsel also searched for, identified,

and interviewed numerous additional current and former tenants of Defendant, nationwide,

speaking with them over the years about their experiences and compiling their supporting data and

documents. As might be expected when dealing with 11 named plaintiffs to start, their referrals

and contacts ballooned into contacts with many additional witnesses whose experiences were

catalogued and fact-checked, and their documents gathered and analyzed.




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       Class Counsel also thoroughly researched and analyzed the legal issues regarding all claims

which, naturally, involved the analysis of 11 states’ laws, including each of their consumer

protection statutes and their decisional law, and Defendant’s defenses and potential defenses.

       Moreover, the parties have conducted extensive discovery, making them very well-

informed about the relative strengths and weaknesses of their respective positions, and providing

them with information needed to negotiate the proposed Settlement. Plaintiffs served and

Defendant responded to multiple sets of written discovery requests, including Interrogatories and

Document Requests. Eventually each named Plaintiff served their own discovery requests and

Defendant responded. Also, and after the entry of a protective order, Defendant produced and

Class Counsel reviewed about 10,000 additional pages of printable documents, but more material

in the form of electronic data. All told, Class Counsel received and analyzed data concerning over

133,200 tenancies and 909,000 potentially relevant charges. Plaintiffs also deposed Defendant’s

Portfolio Director. The parties were planning additional discovery and depositions when they

decided to try to a second mediation.

       D.      The Lengthy and Multi-Phased Settlement Discussions

       The parties attended their first mediation in January of 2020. The case did not settle that

day, but the parties continued to negotiate on a class-wide basis for a while thereafter with the

assistance of the mediator, including by exchanging additional post-mediation settlement briefs.

While that mediation and ensuing negotiations carried the benefit of forcing the parties to prepare

and have serious good-faith discussions about the strengths and weaknesses of their case, the talks

eventually stalled, and the case did not settle. The parties continued to litigate.

       After much additional litigation and discovery, the parties agreed to attend mediation again

in August of 2022 before the Honorable Jeff Kaplan (Ret.). The parties spent a whole day




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negotiating with Judge Kaplan’s assistance. At the end of the day, Judge Kaplan made a

Mediator’s Proposal, which all parties accepted subject to some confirmatory details and data

exchanges. The parties later arrived at an agreement about fees and costs. Defendant produced

additional information and class data and the parties eventually finalized their written class

settlement agreement which is attached to the accompanying Declaration of Alex Tomasevic as

Exhibit 1 (the “Settlement Agreement”).

III.   THE PROPOSED SETTLEMENT

       The following is a summary of the parties’ Settlement Agreement:

       A.     The Settlement Classes

       The proposed settlement classes are as follows:

       1.     Arizona tenants who were charged penalties or fees for paying rent that Defendant

              deemed as late or deficient between January 14, 2017, and the Preliminary

              Approval Date;

       2.     California tenants who were charged penalties or fees for paying rent that

              Defendant deemed as late or deficient between January 14, 2018, and the

              Preliminary Approval Date;

       3.     Colorado tenants who were charged penalties or fees for paying rent that Defendant

              deemed as late or deficient between January 14, 2018, and the Preliminary

              Approval Date;

       4.     Florida tenants who were charged penalties or fees for paying rent that Defendant

              deemed as late or deficient between January 14, 2017, and the Preliminary

              Approval Date;




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        5.     Georgia tenants who were charged penalties or fees for paying rent that Defendant

               deemed as late or deficient between January 14, 2015, and the Preliminary

               Approval Date;

        6.     Illinois tenants who were charged penalties or fees for paying rent that Defendant

               deemed as late or deficient between January 14, 2011, and the Preliminary

               Approval Date;

        7.     Nevada tenants who were charged penalties or fees for paying rent that Defendant

               deemed as late or deficient between January 14, 2017, and the Preliminary

               Approval Date;

        8.     North Carolina tenants who were charged penalties or fees for paying rent that

               Defendant deemed as late or deficient between January 14, 2017, and the

               Preliminary Approval Date;

        9.     Tennessee tenants who were charged penalties or fees for paying rent that

               Defendant deemed as late or deficient between January 14, 2015, and the

               Preliminary Approval Date;

        10.    Texas tenants who were charged penalties or fees for paying rent that Defendant

               deemed as late or deficient between January 14, 2019 and August 31, 2019;3 and




3
  The reason for this Texas cutoff date is that, effective September 1, 2019, the Texas Legislature
amended its late fee statute and it now states that a late fee is considered per se “reasonable” if the
fee is not more than 10 percent of the amount of rent. Tex. Prop. Code § 92.019(a). All of
Defendant’s fees were 10% or less. As a result, Plaintiffs’ claims were dismissed by this Court
insofar as they alleged improper late fees in Texas charged after August 21, 2019.




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       11.     Washington tenants who were charged penalties or fees for paying rent that

               Defendant deemed as late or deficient between January 14, 2018, and the

               Preliminary Approval Date.

       Excluded from the Settlement are: (a) Defendant and its officers, directors, and employees;

(b) any person who files a valid and timely Request for Exclusion; and (c) judicial officers and

their immediate family members and associated court staff assigned to the case.


       B.      $7.5 Million Paid by Defendant on a Non-Reversionary Basis with No Claim
               Requirements

       Per the settlement, defendant will fund a Total Settlement Amount of $7,500,000, of which

up to 25% (or up to $1,875,000) will consist of debt relief and the rest shall be cash. Settlement

Agreement at § 2.33.

       The Total Settlement Amount will also be used to cover Class Counsel’s Costs of up to

$30,000, Class Counsels Fees of up to 33.0% ($2,475,000), class representative service awards of

up to $5,000 per representative (up to $55,000 total), and Settlement Administration Costs

currently estimated to be $175,000 or less.

       Regarding the individual payouts, Participating Class Members will fit into one of two

buckets: a debt relief bucket or a net payout bucket. Regarding the debt relief component, many

of the class members are, e.g., former tenants who vacated still owing considerable money to

Defendant for things like unpaid rent or damage to their rental. The “Debt Relief” under the

Settlement Agreement, in turn, applies to verifiable and active balances owed by Class Members

whose outstanding balances with Defendant were more than $1,000 as of September 30, 2022 and

who do not cure their balances before Final Approval. Id. at §§ 2.10, 4.2.4.1. Those debtors will

receive (and only receive under the Settlement) an equal credit against their debt, with the sum

total of all debt relief credits not to exceed the total earmarked for debt relief of $1,875,000.


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       All the other (non-debtor) class members on the other hand – those in the other bucket who

do not opt out - will receive a flat and equal distribution of all remaining funds, i.e., an equal share

of the Net Distribution Fund. Id. at § 4.2.4.1.

       C.      The Notice Plan

       The parties proposed Settlement Notice Procedures, and procedures for opting out of or

objecting to the settlement (sometimes collectively referred to as the “Notice Plan”) are set forth

in Sections VII and VIII of the Settlement Agreement, and will consist of the following:

               1.      Direct Notice to Settlement Class Members

       Written Class Notice will be sent directly to Class Members. After preliminary approval,

Defendant will provide updated class member contact information to the Administrator.

Settlement Agreement at § 7.1. Defendant has email addresses for most class members. As such,

within 14 days of receipt of the updated class member contact information, the Administrator will

email those class members with full copies of the Class Notice. Id. at § 7.2. For those class

members where email addresses are lacking, or where emails bounce back undelivered, the

Administrator will mail the notice via First Class Mail after doing a search for updated addresses

through the National Change of Address Database. The Administrator will attempt to remail notice

for any returned mailed notices. Id. at §§ 7.2, 7.3.

               2.       Settlement Website and Toll-Free Number

       The Settlement Administrator will also establish a dedicated, case-specific settlement

website where Settlement Class Members can obtain further information about the case and the

Settlement. The settlement website will be readable on mobile devices and include copies of key

case documents, including but not limited to the Settlement Agreement and the operative




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Complaint. The Settlement Administrator will also establish a toll-free telephone number that

Class members can call for more case information.

               3.        Opt-Out and Objection Procedures

       Any person within the class definitions above may request to be excluded from the

settlement by sending a written request stating their desire to be excluded, to the Administrator,

postmarked or delivered by the deadline proscribed by the Class Notice. Settlement Agreement at

§ 8.1. Any Class Member who does not submit a timely and valid exclusion request may submit

a written objection to the Settlement, Class Counsel’s application for attorneys’ fees and expenses,

and/or the request for Class Representative service awards. To be considered, an objection must

be postmarked by the deadline stated in the Class Notice and must include the information

prescribed by the Class Notice. Settlement Agreement at § 8.2.

       D.      Release

       In exchange for the consideration provided under the Settlement Agreement, Participating

Class Members will release INVH and affiliated companies and agents from any claims that were

brought in this matter or based on the same factual predicate as this action. Settlement Agreement

at § 2.25. The named representatives, including in light of their class representative awards, will

provide broader “general” releases of all claims. Id. at § 5.2.

IV.    ARGUMENT

       A.      Overview of the Class Action Settlement Approval Process

       Pursuant to Rule 23(e), a class action settlement must be approved by the Court before it

can become effective. The process for Court approval is comprised of three principal steps:




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       (1)     Preliminary approval of the proposed settlement and direction to disseminate notice

               to the class, after submission to the Court of a written motion for preliminary

               approval;

       (2)     Dissemination of notice to the class; and

       (3)     A final approval hearing, at which evidence and argument concerning the fairness,

               adequacy, and reasonableness of the settlement are presented.

       By this Motion, Plaintiffs respectfully ask the Court to take the first step in the approval

process and enter an order preliminarily approving the Settlement and directing class notice,

pursuant to the parties’ proposed Notice plan, under Rule 23(e)(1).


       B.      The Proposed Settlement Meets the Standards for Preliminary Settlement
               Approval

       The decision to grant preliminary approval of a class settlement is within the District

Court’s sound discretion. See Newby v. Enron Corp., 394 F.3d 296, 300 (5th Cir. 2004). In

evaluating a motion for preliminary settlement approval, the court conducts a preliminary

assessment of the factors that will be evaluated at the final settlement approval stage. See Fed. R.

Civ. P. 23(e)(1).

       The touchstone for the class settlement approval analysis is whether the proposed

settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). The Fifth Circuit has

adopted six factors—the “Reed factors”—for courts to use in determining whether a settlement is

fair, reasonable, and adequate: (1) the existence of fraud or collusion behind the settlement; (2) the

complexity, expense, and likely duration of the litigation; (3) the stage of the proceedings and the

amount of discovery completed; (4) the probability of plaintiffs’ success on the merits; (5) the

range of possible recovery; and (6) the opinions of the class counsel, class representatives, and

absent class members. Reed v. Gen. Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983); In re


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Deepwater Horizon, 739 F.3d 790, 820 (5th Cir. 2014). Additionally, Rule 23(e)(2) establishes

factors for the Court’s consideration which overlap considerably with the Reed factors. See Fed.

R. Civ. P. 23(e)(2) (court must consider whether: (a) the class representatives and class counsel

have adequately represented the class; (b) the proposal was negotiated at arm’s length; (c) the relief

provided for the class is adequate, taking into account the costs, risks, and delay of trial and appeal,

the effectiveness of any proposed method of distributing relief to the class, including the method

of processing class-member claims, the terms of any proposed award of attorney's fees, including

timing of payment, and any agreement required to be identified under Rule 23(e)(3); and (d) the

proposal treats class members equitably relative to each other).

       In applying and weighing these factors, the Court should consider the strong public policy

in favor of settlement. In re Deepwater Horizon, 739 F.3d at 807 (noting an “overriding public

interest in favor of settlement that we have recognized [p]articularly in class action suits”);

Schwartz v. TXU Corp., 2005 WL 3148350, at *17 (N.D. Tex. Nov. 8, 2005) (recognizing the

“public interest in favor of settlement of class action lawsuits”). As discussed below, the proposed

Settlement here is fair, reasonable, and adequate under the circumstances of this case and readily

satisfies all applicable standards for preliminary settlement approval.


               1.      The Settlement is the Product of Good Faith, Arms’-Length Negotiations,
                       and Is Informed By Years of Intensive Litigation and Discovery

       There is a strong presumption of fairness when a proposed class action settlement is

reached through arm’s-length negotiations between experienced counsel, following “meaningful

discovery.” See In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig., 851 F. Supp.

2d 1040, 1063 (S.D. Tex. 2012). Here, the Settlement presented for the Court’s consideration is

the product of hard-fought, arms-length negotiations between the parties and their experienced and

well-informed counsel. The parties participated in a long series of formal mediation sessions


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including, finally, with experienced and well-respected mediator—Hon. Jeff Kalplan (Ret.),

former long-time Magistrate in the Northern District and former State Appellate Court Justice.

With Judge Kaplan’s assistance, the parties were ultimately able to reach an agreement by

accepting Judge Kaplan’s Mediator’s Proposal at the end of a lengthy day of negotiations.

       And during the past several weeks, the parties have been working diligently to finalize the

settlement papers. Throughout these negotiations, the parties were represented by counsel with

extensive experience in the prosecution, defense and settlement of class actions and other complex

matters, including landlord-tenant class actions.

       After the parties reached an agreement in principle on class relief, the parties then

negotiated at arms-length regarding attorneys’ fees and expenses, subject to Court approval.

Moreover, as discussed above, the Settlement here is informed by counsels’ substantial

investigation and discovery regarding the legal and factual issues in the litigation. Before filing

the case, Class Counsel conducted an extensive investigation into the factual underpinnings of the

claim and the applicable law of all 11 states at issue. Class Counsel engaged in ongoing factual

and legal investigation throughout the course of the litigation, including identifying and speaking

to numerous potential fact and expert witnesses and speaking with class members across the

country about their experiences. Class Counsel have also conducted extensive formal discovery in

this case, including the serving of over a dozen sets of written discovery, the receipt and review of

thousands of pages of printable material, and the receipt and analysis of class data. The parties

sometimes fought over the proper scope of discovery. Further, there has been significant motions

practice in this case, including multiple motions to dismiss and, in the California action, a fully

briefed motion for class certification. In negotiating the Settlement, the parties and their counsel

were significantly informed by this work and the Court’s rulings.




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               2.      Plaintiffs and Class Counsel Have Zealously Represented the Class

       Plaintiffs and Class Counsel have prosecuted this action on behalf of the Class with vigor

and dedication for five years. As detailed above, Class Counsel have thoroughly investigated the

factual and legal issues involved, conducted extensive discovery, and engaged in significant

motion practice in furtherance of prosecuting the claim here. Likewise, Plaintiffs themselves were

actively engaged—each provided pertinent information and documents and communicated

regularly with Class Counsel up to and including evaluating and approving the proposed

Settlement.


               3.      The Settlement Represents a Strong Result for the Settlement Class,
                       Particularly Given the Risks, Complexities, and Likely Duration of
                       Ongoing Litigation

       The Settlement provides substantial monetary relief—$7.5 million—that is well-tailored

to the alleged harm. Plaintiffs in this case allege that INVH charged excessive “late” fees that were

not proper liquidated damages, but rather, illegal penalties. The settlement addresses the alleged

harm by paying money meant to be, in essence, a partial refund of these fees. The $7.5 million

Total Settlement Amount—which was reached pursuant to a Mediator’s Proposal presented by

Judge Kaplan following extensive mediation (the parties’ second) —represents a substantial

portion of what realistically could have been achieved in this case, even assuming Plaintiffs were

able to overcome the various remaining hurdles to certification and other milestones, successfully

try this case to judgment, and hold onto that judgment through appeals.

       Of course, Defendant vehemently denied that its fees were in any way unreasonable or

improper. Defendant had evidence that its fees were reasonable in relation to its actual damages

and set fairly in light of the fact that actual damages are difficult to quantify precisely under the

circumstances. Cf. Cleven v. Mid-Am. Apt. Communities, Inc., 20 F.4th 171, 177 (5th Cir. 2021)



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(a late fee need only be “a reasonable estimate of uncertain damages to the landlord that are

incapable of precise calculation and result from late payment of rent.”).

        Moreover, even if successful on the core question of liability, calculating the potential net

class damages in this case with precision is very difficult (Defendant would argue impossible).

Even if Plaintiffs succeeded in obtaining a ruling that all fees were excessive or improper, that

would have been just the start of the analysis, not the end. That is because even if Defendant is

not entitled to the standard late charge as a liquidated damage, it would nonetheless be entitled to

recover its actual damages as a potential setoff to any class member recovery here. See, e.g., Tex.

Prop. Code § 92.019(e); Garrett v. Coast & S. Fed. Sav. & Loan Ass’n, 511 P.2d 1197, 1203 (Cal.

1973) (Even if the charge is found to be void, the consumer does not “escape[] unscathed. He

remains liable for the actual damages resulting from his default.”).

        Here, Defendants collected about $84 million in late fees in all the relevant jurisdictions

over the relevant period as of mediation but had substantial evidence that they were entitled to a

setoff of over $65 million for late or unpaid rent and property damage, leaving potentially only

$19 million assuming Plaintiffs could prove that every late fee collected was unreasonable every

time.

        And, of course, INVH had defenses to class certification in the first instance. If Plaintiffs

failed to certify a class, the practical result would not be $19 million, but rather, quite possibly, if

not likely, no relief at all for the class. Thus, a pre-certification recovery of about 39.5% of

estimated net damages is a strong result for Participating Class Members, particularly in light of

the significant risks and challenges, and the substantial complexity, of ongoing litigation.

        While Plaintiffs absolutely believe that these obstacles are not insurmountable, they are

indicative of the substantial risks that Plaintiffs and the proposed Class would face if the litigation




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were to continue. The proposed Settlement provides considerable, appropriately tailored relief

while allowing Class Members to avoid the risks of unfavorable, and in some cases dispositive,

rulings on these and other issues.

       Moreover, the method for distributing the payments—direct payments via automatic

account debt credits and mailed checks, without the need for Class Members to submit claims—

further supports the reasonableness of the Settlement. Payments or credits will be issued for all

class members, and all the $7.5 million will be spent in favor of the resolution without any possible

reversion back to Defendant.

       Finally, the settlement also provides another significant benefit that would not be available

if the litigation were to continue—prompt relief. Proceeding to trial could add years to the

resolution of this litigation, given the legal and factual issues raised and likelihood of appeals.

               4.      The Request for Fees and Costs is Reasonable at this Stage

       In cases like this one where recovery is made on behalf of a class through the establishment

of a common fund, “a litigant or lawyer who recovers a common fund for the benefit of persons

other than himself or his client is entitled to a reasonable attorney’s fee from the fund as a whole.”

Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). The zealous and effective efforts of Plaintiffs

and Class Counsel here merit awards of attorneys’ fees, expenses, and case contribution awards.

       Our Fifth Circuit has held that district courts may employ the percentage method in

calculating fees in common fund cases - as the parties have done here subject to Court approval.

Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d 632, 642-43 (5th Cir. 2012). Indeed, the

“Supreme Court has also noted that in a common fund case, application of a ‘percentage fee’

approach is the proper method in awarding attorneys’ fees.” See In re Catfish Antitrust Litig., 939

F. Supp. 493, 500 (N.D. Miss. 1996) (citing Blum v. Stenson, 465 U.S. 886, 900 n. 16 (1984)).




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       Plaintiffs request 33.0 % in attorneys’ fees, which is consistent with awards made by courts

in this Circuit under the percentage method. See Welsh v. Navy Fed. Credit Union, 2018 WL

7283639 (W.D. Tex. Aug. 20, 2018) (citing Schwartz v. TXU Corp., 2005 WL 3148350 (N.D. Tex.

Nov. 8, 2005)); Jones v. JGC Dallas LLC, No. 3:11–CV–2743–O, 2014 WL 7332551 at *6 (N.D.

Tex. Nov. 12, 2014) (citing authorities and approving 30% fee award on $2.3 million recovery);

In re Catfish Antitrust Litig., 939 F. Supp. 493, 503 (N.D. Miss. 1996) (collecting cases). The Fifth

Circuit has recognized that the percentage method is particularly suitable in the class action context

because it allows for easy computation and aligns the interests of class counsel with those of class

members. See Union Asset Mgmt., 669 F.3d at 643; Turner v. Murphy Oil USA, Inc., 472 F. Supp.

2d 830, 859 (E.D. La. 2007) (“Recognizing the contingent risk of nonpayment in such cases, courts

have found that class counsel ought to be compensated both for services rendered and for risk of

loss or nonpayment assumed by carrying through with the case.” (quotation marks omitted)).

       Here, the terms of the proposed attorneys’ fee award, at 33.0%, are consistent with, if not

slightly less than typical awards in similar cases. Additionally, the amount of any attorneys’ fee

award is intended to be considered by the Court separately from consideration of the fairness,

reasonableness, and adequacy of the Settlement. Thus, Class Counsel intend to seek an attorneys’

fee award of up to 33.0% of the total Settlement Amount, in addition to also seeking reasonable

litigation costs and expenses, in a separate proceeding. In compliance with Rule 23(h), Plaintiffs

will file a motion and supporting memorandum of law seeking this relief with the Court (and will

upload to the Settlement website) well in advance of the deadline for Settlement Class Members

to file objections to the Settlement.




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                5.      The Settlement Treats Class Members Equitably

        The proposed Settlement does not grant preferential treatment to the Plaintiffs or to any

segment of the Class. The settlement benefits will be distributed equally, i.e., nobody gets more

cash or credit than anyone else. This distribution model, arrived at only after pouring over the

transaction data, also has the advantage of being most administratively efficient, thus keeping

transaction costs reasonable. Moreover, Class Representative Service Awards, such as those that

will be requested for the three Plaintiffs here, are commonly awarded in class actions, are well-

justified under the circumstances, and are appropriate in amount given the Plaintiffs’ commitment

and effort in the litigation over its several years.

                6.      The Recommendation of Experienced Counsel Also Favors Approval

        “[W]here the parties have conducted an extensive investigation, engaged in significant

fact- finding and Lead Counsel is experienced in class-action litigation, courts typically defer to

the judgment of experienced trial counsel who has evaluated the strength of his case.” Schwartz v.

TXU Corp., 2005 WL 3148350, at *21 (N.D. Tex. Nov. 8, 2005) (citation and internal quotations

omitted). Class Counsel in this case have extensive experience litigating and settling class actions

and other complex matters, including landlord/tenant cases, have conducted extensive research

and discovery in this case, and have conducted an extensive investigation into the factual and legal

issues raised. Based on their experience and knowledge about this case, Class Counsel have

weighed the benefits of the Settlement against the inherent risks, complexities, and expense of

continued litigation, and they believe that the proposed Settlement is fair, reasonable, and

adequate. That qualified and well-informed counsel endorse the Settlement as being fair,

reasonable, and adequate further supports approving the Settlement.




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       C.      The Court Should Provisionally Certify the Settlement Class

       The Court should provisionally certify the proposed Class for settlement because the

standards of Rule 23(a) and Rule 23(b)(3) are satisfied. INVH does not oppose certification of the

Class for settlement purposes only.

               1.     The Requirements of Rule 23(a) Are Satisfied

                      a.      Numerosity (Rule 23(a)(1))

       Rule 23(a)(1) requires that “the class is so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). There is no magic number for meeting this requirement.

James v. City of Dallas, 254 F.3d 551, 570 (5th Cir. 2001); Serna v. Transp. Workers Union of

Am., 2014 WL 7721824, *2 (N.D. Tex. Dec. 3, 2014). Numerosity is readily satisfied here. The

Class, as defined, includes over 130,000 tenancies.

                      b.      Commonality (Rule 23(a)(2))

       Rule 23(a)(2) requires at least one common issue of fact or law “capable of class-wide

resolution.” Yates v. Collier, 868 F.3d 354, 361 (5th Cir. 2017) (citing Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 350 (2011)). A single common question of law or fact is sufficient. Ibe v.

Jones, 836 F.3d 516, 528 (5th Cir. 2016) (citing Wal-Mart, 564 U.S. at 350). This case raises

multiple common questions, including what efforts INVH took, if any, to estimate its actual

damages before deploying its standard late fees, whether those efforts were reasonable, and/or

whether the fees settled upon in Defendant’s form lease contracts bare any reasonable relation to

INVH’s actual damages felt from the late payment of rent.       Commonality is satisfied here.

                      c.      Typicality (Rule 23(a)(3))

       Typicality, under Rule 23(a)(3), is satisfied if the representative plaintiffs’ claims and those

of the class arise out of the same course of conduct and share the same legal theory. James, 254




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F.3d at 571; Serna, 2014 WL 7721824, at *4. Typicality does not require “complete identity of

claims.” Stirman v. Exxon Corp., 280 F.3d 554, 562 (5th Cir. 2002). Here, Plaintiffs, like the other

Class Members, had form leases with INVH with late fee provisions, and they paid INVH pursuant

to those provisions. Plaintiffs’ and other Class Members’ claims arise from the same alleged course

of conduct and are based on the same legal theory—that INVH’s fee charges were not a proper or

reasonable liquidated damage. See Restatement (Second) of Contracts § 356(1).

                        d.      Adequacy (Rule 23(a)(4))

        Rule 23(a)(4) looks at: “(1) the zeal and competence of the representatives’ counsel; (2)

the willingness and ability of the representatives to take an active role in and control the litigation

and to protect the interests of absentees; and (3) the risk of conflicts of interest between the named

plaintiffs and the class they seek to represent.” Slade v. Progressive Sec. Ins. Co., 856 F.3d 408,

412 (5th Cir. 2017); Feder v. Elec. Data Sys. Corp., 429 F.3d 125, 130 (5th Cir. 2005).

        Class Counsel here have extensive experience litigating and resolving class actions and

other similar complex matters and are well qualified to represent the Class. Since filing this case,

Class Counsel have vigorously litigated this action on behalf of the Class, conducted extensive

investigation and discovery, negotiated the proposed Settlement, and have and will continue to

fairly and adequately protect the interests of the Class. Likewise, the Plaintiffs have demonstrated

their commitment to the Class, including by actively participating in the case for years, regularly

communicating with Class Counsel about the case, and reviewing and approving the proposed

Settlement. Finally, Plaintiffs’ interests are aligned with and are not antagonistic to the interests of

the Class. Plaintiffs and the Settlement Class Members share an interest in obtaining relief from

INVH for the alleged violations.




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               2.      The Requirements of Rule 23(b)(3) are Also Satisfied

       In addition to the requirements of Rule 23(a), at least one of the prongs of Rule 23(b) must

be satisfied. Here, Plaintiffs seek certification, for settlement purposes, under Rule 23(b)(3), which

requires that “questions of law or fact common to the class members predominate over any

questions affecting only individual members and that a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). “The

predominance inquiry ‘asks whether the common, aggregation-enabling, issues in the case are

more prevalent or important than the non-common, aggregation-defeating, individual issues.’”

Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (citation omitted). At its core,

“[p]redominance is a question of efficiency.” Butler v. Sears, Roebuck & Co., 702 F.3d 359, 362

(7th Cir. 2012).

       Common questions predominate here. Not only do the Class Members’ claims all arise

under the basic legal principles and alleged conduct (the collection of standard late fees), but under

the proposed Settlement, there will not need to be a class trial, meaning there are no potential

concerns about any individual issues, if any, creating trial inefficiencies. See Amchem Prods., Inc.

v. Windsor, 521 U.S. 591, 620 (1997) (“Confronted with a request for settlement-only certification,

a district court need not inquire whether the case, if tried, would present intractable management

problems…for the proposal is that there will be no trial.”).

       Moreover, class treatment is superior to other methods for the resolution of this case.

Plaintiffs are not aware of any other actions against INVH regarding the issues raised in this case.

Given the size of each Class Member’s damages—which would be dwarfed by the expense of

prosecuting a separate individual case—they would be unlikely to pursue individual claims. See

Boos v. AT & T, Inc., 252 F.R.D. 319, 326 (W.D. Tex. 2008), modified (Sept. 17, 2008). In all




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events, they remain free to exclude themselves from the Class if they wish to do so. Moreover, it

would be far more efficient for the Court and the parties to have a single resolution (as with the

proposed Settlement here), rather than multiple separate cases about the same issues.

       D.      The Proposed Class Notice and Notice Plan Will Provide the Best Notice

               Practicable and Should be Approved

       Before a proposed class settlement may be approved, the Court “must direct notice in a

reasonable manner to all class members who would be bound by the proposal.” Fed. R. Civ. P.

23(e)(1). Where certification of a Rule 23(b)(3) settlement class is sought, the notice must also

comply with Rule 23(c)(2)(B), which requires:

       the best notice that is practicable under the circumstances, including individual
       notice to all members who can be identified through reasonable effort. The notice
       may be by one or more of the following: United States mail, electronic means, or
       other appropriate means. The notice must clearly and concisely state in plain, easily
       understood language: (i) the nature of the action; (ii) the definition of the class
       certified; (iii) the class claims, issues, or defenses; (iv) that a class member may
       enter an appearance through an attorney if the member so desires; (v) that the court
       will exclude from the class any member who requests exclusion; (vi) the time and
       manner for requesting exclusion; and (vii) the binding effect of a class judgment on
       members under Rule 23(c)(3).

Fed. R. Civ. P. 23(c)(2)(B); see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 176 (1974).

       The proposed Notice Plan here (Settlement Agreement, §§ VII and VIII) meets all

applicable standards. The Notice Plan includes direct notice to Class Members sent via email

and/or first-class U.S. Mail, a dedicated settlement website where Settlement Class Members can

obtain additional information about the Settlement and view key case documents, and a toll-free

telephone number where Settlement Class Members can get additional information. Moreover, the

proposed form of Notice (Settlement Agreement, Ex. A) informs Class Members, in clear and

concise terms, about the nature of this case, the Settlement, and their rights, including all the

information required by Rule 23(c)(2)(B). The Court should approve the proposed Notice Plan.



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       E.      Finally, The Court Should Schedule a Fairness Hearing and Related Dates

       The next steps in the settlement approval process are to notify Class Members of the

proposed Settlement, allow Class Members an opportunity to exclude themselves or file comments

or objections, and hold a Fairness Hearing.

       Towards those ends, the parties propose the following schedule:

 Last day for INVH to provide the final Class      [45 days after entry of Preliminary
 Information to the Settlement Administrator       Approval Order]


 Deadline to Send Notice of Settlement             [14 days after INVH provides the Class
                                                   Information]
 Last day for: (a) Class Plaintiffs to file motion [21 Days After         Sending     Notice    of
 for final approval of the Settlement; and (b)     Settlement]
 Class Counsel to file their application for
 attorneys’ fees, expenses and service awards
 Opt-Out Deadline                                  [30 days before the Fairness Hearing]
 Objection Deadline                                [30 days before the Fairness Hearing]
 Last day for the Parties to file any responses    [14 days before Fairness Hearing]
 to objections, and any replies in support of
 motion for final settlement approval and/or
 Class Counsel’s application for attorneys’
 fees, expenses and service awards.
 Fairness Hearing                                  [TBD]


V.     CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court do the following:

       (a)     grant preliminary approval of the Settlement;

       (b)     provisionally certify for settlement purposes the Class, as defined in the Settlement

               Agreement, pursuant to Fed. R. Civ. P. 23(b)(3);

       (c)     appoint each of the Plaintiffs as class representatives;




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       (d)    appoint Alex Tomasevic and Craig Nicholas of Nicholas & Tomasevic, LLP as

              Class Counsel;

       (e)    appoint Angeion Group as Settlement Administrator, and direct Angeion to carry

              out the duties of the Settlement Administrator specified in the Settlement;

       (f)    approve the proposed Notice Plan—including the form and content of the Class

              Notice and the proposed method for distributing the Class Notice—and direct the

              Parties and Settlement Administrator to implement the Notice Plan;

       (g)    continue the stay all non-Settlement related proceedings in this litigation pending

              final approval of the Settlement; and

       (h)    set a Fairness Hearing and certain other dates, as proposed herein, in connection

              with the final approval of the Settlement.

Respectfully submitted,
Dated: May 3, 2023                                    NICHOLAS & TOMASEVIC LLP

                                                      /s/ Alex Tomasevic
                                                      Craig Nicholas (pro hac vice)
                                                      cnicholas@nicholaslaw.org
                                                      Alex Tomasevic (pro hac vice)
                                                      atomasevic@nicholaslaw.org
                                                      225 Broadway, 19th Floor
                                                      San Diego, CA 92101
                                                      Telephone: +1 619 325 0492
                                                      Fax: +1 619 325 0496

                                                      Richard A. Smith
                                                      Texas Bar No. 24027990
                                                      richard@rsmithpc.com
                                                      PALMER LEHMAN SANDBERG PLC
                                                      Campbell Centre I
                                                      8350 N. Central Expressway, Suite 1111
                                                      Dallas, TX 75206
                                                      Telephone: + 1 214 2426484

                                                      ATTORNEYS   FOR    PLAINTIFFS
                                                      FRANCINE MCCUMBER, ET AL.



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                            CERTIFICATE OF CONFERENCE

       As required by Local Rule 7.1(b), I certify that I have conferred with counsel for Defendant

Invitation Homes, Inc. about the merits of Plaintiffs’ Motion for Preliminary Approval of Class

Action Settlement. Defendant Invitation Homes, Inc. does not oppose Plaintiffs’ motion.

Respectfully submitted,
Dated: May 3, 2023                                   NICHOLAS & TOMASEVIC LLP

                                                     /s/ Alex Tomasevic
                                                     Alex Tomasevic (pro hac vice)
                                                     atomasevic@nicholaslaw.org

                                                     ATTORNEYS FOR PLAINTIFFS
                                                     FRANCINE MCCUMBER, ET AL.




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                                CERTIFICATE OF SERVICE

       On May 3, 2023, electronically submitted the foregoing document with the Clerk of the

Court for the U.S. District Court, Northern District of Texas, using the Court’s electronic filing

system pursuant to Local Rule 5.1(d). I hereby certify that I have served all counsel and/or pro se

parties of record electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).


                                                     NICHOLAS & TOMASEVIC LLP

                                                     /s/ Alex Tomasevic
                                                     Alex Tomasevic (pro hac vice)
                                                     atomasevic@nicholaslaw.org

                                                     ATTORNEYS   FOR    PLAINTIFFS
                                                     FRANCINE MCCUMBER, ET AL.




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